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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION
                                  CINCINNATI, OH

                                                 )
 Ohio Justice and Policy Center                  )    Case No:
 Plaintiff,                                      )
                                                 )    Judge:
                                                 )
 vs.                                             )    Magistrate Judge:
                                                 )
 Annette Chambers Smith, et al.                  )
 Defendants.                                     )
                                                 )    DECLARATION OF SUSAN
                                                 )    SHELLENBERGER
                                                 )
                                                 )



I, Susan Shellenberger, pursuant to 28 U.S.C. §1746, declare under penalty of perjury as follows:

   1. I have personal knowledge of the facts stated herein.

   2. I am a volunteer investigator working for Plaintiff Ohio Justice and Policy Center

       (“OJPC”).

   3. Prior to my volunteer work with OJPC, I worked for many years in the criminal legal

       system and corporate security. After 9/11, I became the General Electric (“GE”) Aviation

       Global Security Manager and was responsible for over 100 GE Aviation sites in the areas

       of investigations, event security, and workplace and domestic violence prevention and

       response. Additionally, I partnered with leadership and law enforcement to identify

       company mailroom risks and to establish mailroom protocols to mitigate risk. These

       protocols including the development of policies, procedures and a SOP for mailroom

       security which required minimum physical security standards, identification practices,

       training, communication and response protocols.



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   4. In 2014, I became a Senior Investigator with the GE Aviation Legal Operations

      department.

   5. In 2022, I retired from GE and joined OJPC as a volunteer investigator. I have been

      working for OJPC since April 2022. In my capacity as an investigator, I assist OJPC

      attorneys by conducting factual investigations related to their cases, including by

      requesting records and meeting with clients. In my work with OJPC, I rely on my skills,

      experience, and expertise in investigations that I developed at GE.

   6. On April 23, 2025, I visited the Lebanon Correctional Institution (“LeCI”) to view the

      legal mail processing procedures.

   7. In this declaration, I will describe my general observations and summarize three specific

      instances where I witnessed incarcerated people’s legal mail being photocopied.

A. General Observations

   8. LeCI photocopies incoming confidential legal mail.

   9. I learned from Lt. Holley, who oversees the mailroom at LeCI, that all mail is initially

      screened in a different room. Legal mail is sorted from the rest of the mail. All mail is

      screened using a hood and drug-sniffing dogs.

   10. A civilian staff member named Destiny was conducting the processing and photocopying

      of incoming legal mail.

   11. The room where legal mail is copied has two rooms. The room where the mail is

      copied/shredded, has a door with an open window. This door is secured with a key lock

      (maintained by the mailroom staff member) When incarcerated people pick up their mail,

      they stand outside the door.
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12. I estimate that the copier used to copy the legal mail is about 10 feet from this window. It

   is a small Toshiba copier. I estimate the copier is about four feet tall. Copies can be made

   by using the automatic feeder or opening the lid and laying the document on the glass

   top.

13. The shredder used for the legal mail is small. I estimate it is about a foot and a half wide

   and two feet tall. While it was not clear how many pages can be simultaneously shredded,

   the employee shredding the documents indicated only a few pages could be shredded at a

   time.

14. In general, the copying process included many instances where it was obvious that at

   least some of the legal mail was exposed and able to be read.

15. It would take Destiny only a few seconds to open a legal mail letter and remove the

   contents from the envelope. By contrast, it took several minutes for the photocopying

   procedure to be accomplished from beginning to end.

16. She would frequently fan pages out while looking at the pages.

17. When a paper jam occurred, Destiny took the pages out, flipped them over, and laid them

   to the side. When this occurred, I was standing several feet away and could read the front

   page as she held it up in full view of us.

18. Often the paper would not be shred immediately, and would remain on the table for

   anyone in the room to see.

19. Per policy, the incarcerated person is allowed to compare the original and the copy.

   Destiny would often do this with the incarcerated person. This has the effect of forcing

   the incarcerated person to allow further intrusion into his privileged correspondence in

   order to ensure the copy of his legal mail is correct.
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   20. At the window, while comparing the original and the copy, she would flip through the

      originals again.

   21. For each piece of mail, Destiny had several opportunities to look at the content of the

      letters, and spent significant time handling and looking at pages.

   22. I was able to see the content of letters several times.

B. The First Legal Mail Photocopying I Witnessed Revealed Many Opportunities to Read

   the Incarcerated Person’s Mail.

   23. When I first arrived at the legal mail room, Destiny was copying an incarcerated person’s

      legal mail. I did not see this piece of mail opened.

   24. The incarcerated person was standing at the window while Destiny was copying his mail.

      His legal mail was a larger packet that I estimate included about 50 pages.

   25. Destiny looked away for part of the time that the mail was being copied, but did watch

      some of the mail be fed through the copier.

   26. When the copying was finished, Destiny asked the incarcerated person if he wanted to

      confirm that all pages were correctly copied.

   27. Watching this occur, standing several feet away, I could see some of the content of the

      legal mail, which appeared to be a letter from an attorney and a court decision.

   28. Destiny and the incarcerated person flipped through the pages together. At some point, it

      was determined that an error occurred in copying, and so Destiny re-copied the mail.

   29. Destiny took back the originals and fanned through the originals, exposing much of the

      content to her.

   30. When the copying was finished, Destiny asked the incarcerated person if he wanted to

      confirm that all pages were correctly copied.
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   31. At this time, Destiny had the first copy on top of the printer, face up and uncovered.

   32. When the copying was finished, she began shredding.

   33. As aforementioned, the shredder can only shred few pages at a time. Thus, each time

      paper was shredded, Destiny looked at the sheet on top of the stack of the few pages, and

      then watched the paper go through the shredder, and repeated the process. Each time

      pages were shredded, the content of the top page was potentially exposed to anyone who

      was in the mailroom.

   34. In shredding this larger packet of paper a few pages at a time, several pages were

      completely exposed as they were placed into the shredder. In other words, if three pages

      were being shredded at a time, the top page would be exposed, and after those three pages

      were shredded, another two or three pages would be placed into the shredder at one time

      with the top page exposed.

   35. While Destiny was shredding, an incarcerated person came to the door to speak to

      Destiny. Lt. Holley took over the shredding at this point. He shredded a few pages at a

      time, and like Destiny, watched the paper go through the shredder while looking at the

      pages as they were put into the shredder.

   36. Then, Destiny and the incarcerated person reviewed the copy of the mail. The

      incarcerated person was satisfied that the copy was the same as the original, and he left,

      taking the copy with him.

C. The Second and Third Instances of Copying Legal Mail Were Also Intrusive.

   37. The next incarcerated person came to pick up his legal mail.

   38. Destiny asked if he wanted a copy of the envelope, and then stepped away from the door.
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   39. She opened the envelope in front of the copier, placing the envelope off to the side of the

      copier (on the table) and then after looking at the first page, began flipping through the

      pages of the document.

   40. She put the document face up in the document feeder and created a copy.

   41. The incarcerated person and Destiny compared the original and the copies to determine if

      the copying was correct. This took several minutes as the incarcerated person was slowly

      going through his document. During this time, Destiny kept flipping through the pages of

      the document. She did this several times. Finally, the incarcerated person indicated they

      were satisfied, walked away and Destiny began the shredding process, a few pages at a

      time.

   42. Then, another incarcerated person came to the window to pick up his legal mail.

   43. Destiny asked if he wanted his envelope copied and signed for his mail.

   44. She looked at the top page, flipped through the pages, and copied the documents.

   45. She asked the incarcerated person if he wanted to compare the original to the copy. The

      incarcerated person compared the original and the copy by himself at the door while

      Destiny watched standing next to the copier.

D. This Process Showed that the Legal Mail Policy Variance is Highly Intrusive Upon

   Privileged Correspondence.

   46. Based on this experience, I believe that mailroom staff at Lebanon are reading legal mail

      during the process of copying and shredding, which takes several minutes to accomplish.

      This reading occurs as a natural result of frequently laying eyes on the mail for several

      seconds at a time, looking at individual pages as they are being copied or shredded,

      looking at pages to fix paper jams, fanning out pages, flipping through pages, and
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